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                                UNITED STATES DISTRICT
                             COURT DISTRICT OF NEW JERSEY

  CREIGHTON TAKATA, individually and on )
  behalf of all others similarly situated, ) Civil Action No.: 18-2293 (FLW)(TJB)
                                           )
                          Plaintiff,       )
                                           )
                           v.              ) CERTIFICATION OF ALEXANDER P.
                                             WENTWORTH-PING
                                           )
  RIOT BLOCKCHAIN, INC. F/K/A, BIOPTIX, )
  INC, JOHN O’ROURKE, JEFFREY              )
                                           )
  McGONEGAL, BARRY HONIG,
                                           )
  CATHERINE DEFRANCESCO, MICHAEL )
  BEEGHLEY, JOHN STETSON, MARK             )
  GROUSSMAN, ANDREW KAPLAN, MIKE )
  DAI, JASON LES and ERIC SO,              )
                                           )
                          Defendants.      )
                                           )

        I, Alexander P. Wentworth-Ping, hereby declare and certify:

        1.      I am an attorney and associate with the firm of Quinn Emanuel Urquhart &

 Sullivan, LLP, 51 Madison Avenue, 22nd Floor, New York New York 10010. I am a member of

 good standing of the New York Bar and have been since I was admitted in 2014. I make this

 certification in support of the issuance of an Order admitting me pro hac vice in the above-

 captioned matter on behalf of Defendant Catherine DeFrancesco.

        2.      With respect to the above-captioned matter, I am associated with Jaclyn

 Palmerson at Quinn Emanuel Urquhart & Sullivan, LLP, who is counsel of record and qualified

 to practice in this court pursuant to New Jersey Court Rule 1:21-1. Because Ms. Palmerson does

 not maintain a fixed physical location for the practice of law in New Jersey, the Clerk of the

 Supreme Court is designated as an agent upon whom service may be made in the event service

 cannot otherwise be effectuated pursuant to the appropriate Rules of Court.




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        3.      I agree that I will make the required payment to the New Jersey Lawyers’ Fund

 for Client Protection as provided by New Jersey Court Rule 1:28-2(a) and Local Civil Rule

 101.1(c)(2) for any year that I represent a client in a matter pending before this Court.

        4.      All pleadings, briefs, and other papers filed with the Court shall be signed by

 Jaclyn Palmerson, or an attorney admitted to the Bar of the State of New Jersey and this Court,

 and shall be held responsible for them and my conduct in this matter.

        5.      Pursuant to Local Civil Rule 101.1(c)(1), I declare that I was admitted to practice

 law and am a member in good standing in the following bars:

             JURISDICTION                Name and Address or Office of Official          Year of
                                        Maintaining the Roll of Members of the Bar      Admission

                                        Attorney Records Clerk
                                        Appellate Division, First Judicial                   2014
  New York State Bar                    Department
                                        41 Madison Avenue, 26th Floor
                                        New York, New York 10010

                                        Clerk’s Office
  U.S. District Court for the           Eastern District of New York                         2016
  Eastern District of New York          225 Cadman Plaza East
                                        New York, NY 11201

                                        United States District Court, Southern
  U.S. District Court for the           District of New York                                 2016
                                        500 Pearl Street,
  Southern District of New York
                                        New York, NY 10007
                                        Attn: Attorney Services

                                         U.S. Court of Appeals for the Second
  U.S. Court of Appeals for the          Circuit                                             2019
  Second Circuit                         40 Foley Square
                                         New York, NY 10007




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            JURISDICTION               Name and Address or Office of Official         Year of
                                      Maintaining the Roll of Members of the Bar     Admission
                                                                                          2017
                                       U.S. District Court, Eastern District of
                                       Michigan
 U.S. District Court for the           Clerk’s Office
 Eastern District of Michigan          231 W. Lafayette Blvd.
                                       Detroit, MI 48226



       6.      Presently, there are no disciplinary proceedings pending against me in any

jurisdiction and no discipline has previously been imposed upon me in any jurisdiction.

       1.      I am familiar with the Local Rules of this Court, and if admitted pro hac vice.

submit myself to its disciplinary authority as provided by Local Civil Rule 101.1.

       8.      If admitted pro hac vice, I will abide by the requirements of Local Civil Rule

101.1(c).

       9.      Pursuant to 28 U.S.C. § 1746,1 declare under penalty of perjury that the foregoing

is true and accurate.

       DATED: July 22, 2019

                                             Bv: .W'
                                                  Alexander P. Wentworth-Pini




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